                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION



 UNITED STATES OF AMERICA,
                 Plaintiff,                               No. CR06-4027-MWB
 vs.                                            ORDER ACCEPTING MAGISTRATE
                                                     JUDGE’S REPORT AND
 FERNANDO ENRIQUE CORTEZ,
                                                RECOMMENDATION REGARDING
                 Defendant.                       DEFENDANT’S GUILTY PLEA
                                  ____________________

                        I. INTRODUCTION AND BACKGROUND
         On May 18, 2006, a superseding indictment was returned against defendant
Fernando Enrique Cortez, charging defendant with conspiring to distribute 500 grams or
more of methamphetamine, to distribute 50 grams or more of pure methamphetamine and
to distribute powder cocaine, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A),
841(b)(1)(C), and 846, and distributing 50 grams or more of pure methamphetamine, in
violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A). On November 30, 2006, defendant
appeared before United States Magistrate Judge Paul A. Zoss and entered a plea of guilty
to Count 1 of the superseding indictment. On this same date, Judge Zoss filed a Report
and Recommendation in which he recommends that defendant’s guilty plea be accepted.
No objections to Judge Zoss’s Report and Recommendation were filed. The court,
therefore, undertakes the necessary review of Judge Zoss’s recommendation to accept
defendant’s plea in this case.


                                       II. ANALYSIS
         Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:



       Case 5:06-cr-04027-MWB-LTS        Document 91      Filed 12/20/06    Page 1 of 2
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Zoss’s findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Zoss’s Report and Recommendation of November 30,
2006, and accepts defendant’s plea of guilty in this case to Count 1 of the superseding
indictment.
       IT IS SO ORDERED.
       DATED this 20th day of December, 2006.




                                            2


    Case 5:06-cr-04027-MWB-LTS         Document 91      Filed 12/20/06    Page 2 of 2
